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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

                                             )
MARK MEADOWS,                                )
                                             )
               Plaintiff,                    )
                                             )
        v.                                   )      Case No. 1:21CV3217 (CJN)
                                             )
NANCY PELOSI, et al.,                        )
                                             )
               Defendants.                   )
                                             )

                                            ORDER

        It is hereby ORDERED that the Court’s October 31, 2022 Judgment [ECF No. 50] is

STAYED and Congressional Defendants are temporarily ENJOINED from enforcing the

subpoenas for the purpose of allowing the Court to consider Plaintiff’s Motion for

Reconsideration.

        Plaintiff’s request to file a supplemental memorandum in support of his Motion for

Reconsideration is GRANTED. Plaintiff shall file his memorandum on or before November 18,

2022. Defendants shall file their response, if any, on or before December 2, 2022.

Date:
                                                                   CARL J. NICHOLS
                                                                   United States District Judge
